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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

      v.                                              Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                  Defendant.


                                   NOTICE OF APPEAL
       Defendant President Donald J. Trump hereby provides notice that he appeals to the U.S.

Court of Appeals for the District of Columbia Circuit from the Opinion and Order of the District

Court dated October 17, 2023, ECF No. 105.


 Dated: October 17, 2023                           Respectfully submitted,


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